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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                        CR 14-80-GF-BMM

                     Plaintiff,                         ORDER

 vs.

 FRANK AUSTIN DAMON,

                     Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on March 29, 2016. Defendant admitted he had

violated Standard Condition 7 of his supervised release by using

methamphetamine. Judge Johnston found the admission sufficient to establish the

supervised release violation. He recommended that this Court revoke Defendant's

supervised release and commit him to the custody of the United States Bureau of

Prisons for a term of imprisonment of time served, with 48 months of supervised

release to follow.

       No objections were filed by either party. Judge Johnston’s findings

and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.
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1981).

      This Court agrees with Judge Johnston’s findings. Defendant admitted he

had violated Standard Condition 7 of his supervised release. Defendant could be

incarcerated for up to 60 months, followed by 36 months of supervised release less

any custody time imposed. The United States Sentencing Guidelines call for a

term of imprisonment of three to nine months. A sentence of time served, followed

by 48 months of supervised release is appropriate. The sentence is sufficient but

not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 89) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 18th day of April, 2016.




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